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 3                               UNITED STATES DISTRICT COURT
 4                             NORTHERN DISTRICT OF CALIFORNIA

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 6    LD, DB, BW, RH, and CJ on behalf of                   Case No. 4:20-cv-02254-YGR-JCS
      themselves and all others similarly situated,
 7                                                          (Hon. Yvonne Gonzalez Rogers)
                             Plaintiffs,
 8                                                             ORDER GRANTING MOTION FOR
      vs.                                                        ADMINISTRATIVE RELIEF
 9
      UNITED BEHAVIORAL HEALTH, INC., a
10    California Corporation,
      UNITEDHEALTHCARE INSURANCE
11    COMPANY, a Connecticut Corporation, and
      MULTIPLAN, INC., a New York                           Dkt. Nos.: 188, 189
12    Corporation,

13                           Defendants.

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16          Defendants’ motion for a two-week extension of the deadline to oppose plaintiffs’ motion for
17   class certification is GRANTED. The deadline is now October 12, 2022.
18          This terminates docket numbers 188 and 189.
19          IT IS SO ORDERED.
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21          DATED: September 20, 2022                       ______________________________
22                                                          Honorable Yvonne Gonzalez Rogers
                                                            United States District Judge
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